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14                                                            Counsel for Defendants

15
                                    UNITED STATES DISTRICT COURT
16
                              NORTHERN DISTRICT OF CALIFORNIA
17
       SHERRILL FARRELL, et al., individually
18     and on behalf of all others similarly situated             CASE NO. 3:23-cv-4013-JCS

19                                     Plaintiffs,
                                                                  JOINT STIPULATION TO
20                             v.                                 SUBSTITUTE THE CALIFORNIA
                                                                  WOMEN’S LAW CENTER FOR
21     UNITED STATES DEPARTMENT OF                                LEGAL AID AT WORK AND
       DEFENSE; et al.,                                           [PROPOSED] ORDER
22                         Defendants.

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                           Farrell, et al., v. Department of Defense, et al., No. 3:23-cv-4013-JCS
                          Joint Stipulation to Substitute CWLC for LAAW and [Proposed] Order
         Case 3:23-cv-04013-JCS             Document 89           Filed 02/12/25         Page 2 of 4




1           Whereas the Court appointed Legal Aid at Work one of class counsel for the

2    conditionally-certified settlement class in its January 8, 2025 Order, ECF 85.

3           Whereas, Elizabeth Kristen is leaving her job at Legal Aid at Work and will be serving

4    as the Legal Director at the California Women’s Law Center (CWLC) as of February 18, 2025.

5           Whereas, Ms. Kristen was the lead and primary Legal Aid at Work lawyer currently

6    working on this matter and will be available to continue working on this matter as part of her

7    employment with CWLC.

8           Whereas, Ms. Kristen will continue to competently represent the class at CWLC and will
9    submit a declaration detailing CWLC’s class action experience.
10          Therefore, it is stipulated that Ms. Kristen and CWLC will be substituted as class
11   counsel for Legal Aid at Work.
12

13       DATED: February 12, 2025                              By: /s/ Lori Rifkin/

14                                                             Jocelyn Larkin (SBN 110817)
                                                               Lindsay Nako (SBN 239090)
15                                                             Lori Rifkin (SBN 244081)
                                                               Fawn Rajbhandari-Korr (SBN 315888)
16                                                             Meredith Dixon (SBN 346864)
                                                               IMPACT FUND
17
                                                               Elizabeth Kristen (SBN 218227)
18                                                             CALIFORNIA WOMEN’S LAW CENTER

19                                                             David K. Willingham (SBN 198874)
                                                               Radha Manthe (admitted pro hac vice)
20                                                             Rachel Yeung (SBN 317361)
                                                               KING & SPALDING LLP
21
                                                               Chelsea Corey (admitted pro hac vice)
22                                                             HAYNES AND BOONE, LLP

23                                                                  Counsel for Plaintiffs

24                                                             By: /s Liam C. Holland

25                                                             BRETT A. SHUMATE
                                                                Acting Assistant Attorney
26                                                              General
                                                               ALEXANDER K. HAAS
27                                                               Director, Federal Programs Branch

                         Farrell, et al., v. Department of Defense, et al., No. 3:23-cv-4013-JCS
                        Joint Stipulation to Substitute CWLC for LAAW and [Proposed] Order

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     Case 3:23-cv-04013-JCS         Document 89           Filed 02/12/25         Page 3 of 4



                                                       LAUREN A. WETZLER
1                                                        Deputy Director, Federal Programs
                                                         Branch
2                                                      ANDREW E. CARMICHAEL
                                                         Senior Trial Counsel
3                                                      LIAM C. HOLLAND
                                                         Trial Attorney
4
                                                             Counsel for Defendants
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                 Farrell, et al., v. Department of Defense, et al., No. 3:23-cv-4013-JCS
                Joint Stipulation to Substitute CWLC for LAAW and [Proposed] Order

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                                            [PROPOSED] ORDER
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2
     PURSUANT TO STIPULATION, IT IS ORDERED that:
3
            Ms. Kristen and the California Women’s Law Center are substituted for Legal Aid at
4
     Work as class counsel.
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     DATED: ____________, 2025
7                                                     HON. JOSEPH C. SPERO
8                                                     United States Magistrate Judge

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                        Farrell, et al., v. Department of Defense, et al., No. 3:23-cv-4013-JCS
                       Joint Stipulation to Substitute CWLC for LAAW and [Proposed] Order

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